                                                                   June 30, 2022

To the Honorable Judge Waverly D. Crenshaw
Middle District Tenessee

Dear Judge Crenshaw,

My name is Russell G. Giampietro, Jr., brother of Georgianna Giampietro. I am
writing this letter to testify to my sister’s character. Georgianna is a good mother to
her children. Georgianna also takes care of our mother. While living with her,
Georgie cooked for her, cleaned for her, helped her budget her money, and made
sure the house ran well. If there was a problem with the house or anything, she
took care of it. Mom didn’t have too. I live in a separate county now an hour away.
Our brother lives two hours away. We need Georgie home to take care of Mom. In
fact, Georgianna decided to live with Mom for the purpose of taking care of her in
her old age.

Our mother currently has COVID, and if Georgie were home, John and I wouldn’t
have to worry about Mom so much. I can’t be exposed due to stage four heart
failure, and John is too far away. My children are doing the best they can to help,
but we need Georgie the most right now. We miss Georgie very much. The family
isn’t the same without her.


Sincerely,

s/ Russell Giampietro Jr.

Russell Giampietro Jr.




 Case 2:19-cr-00013 Document 425-3 Filed 07/06/22 Page 1 of 1 PageID #: 5415
